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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:06CR3016
                                     )
     v.                              )
                                     )
ARMANDO GARCIA-DELACRUZ and          )       ORDER
MARCO M. PRUNEDA,                    )
                                     )
     Defendants.                     )




     IT IS ORDERED:

     Trial of the above matter as to both defendants is continued

until further order.

     Dated March 17, 2006.

                                BY THE COURT
                                s/  David L. Piester
                                David L. Piester
                                United States Magistrate Judge
